Case 3:24-cr-01884-LS Document 78 Filed 04/29/25 Page1of2

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

EL PASO DIVISION
UNITED STATES OF AMERICA §
Vs. § 3:24CRO01884-001 LS
ANGEL RENE SANCHEZ § USM NO. 28719-511

NOTICE OF INTENTION TO/NOT APPEAL
I, ANGEL RENE SANCHEZ, state that I have been notified by my trial attorney of
record, Eduardo N. Lerma, Sr., that I have the right to appeal my case. That if I do wish to
appeal, I, pro se, or my appellate attorney, must file written notice within 10 days of the
sentence.

I state that it is my desire to:

4 TO APPEAL

NOT APPEAL

I make this statement freely and voluntarily after being properly notified of my right to
Appeal.

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Defendant” ANGEL RENE SANCHEZ

Case 3:24-cr-01884-LS Document 78 Filed 04/29/25 Page 2 of 2

CERTIFICATE OF SERVICE

I certify that on APRIL 29, 2025, a true and correct copy of Defendant’s Notice of
Intention To/Not Appeal served in accordance with the Federal Rules of Criminal Procedure by

using the electronic filing which causes all interested parties to be served:

Assistant U.S. Attorney

Richard Watts, AUSA (lead attorney)
U.S. Attorney Office

700 E. San Antonio Street Ste. 200
El Paso, TX 79905
richard.watts(@usdoj.gov

/s/ Eduardo N. Lerma, Sr.
Eduardo N. Lerma, Sr.
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Attorney for Defendant

